                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW MEXICO

In re:
DOROTHY MARIE BYRD,
       Debtor(s)                                                       No. 18-11852-t7

                         MOTION TO APPROVE TRUSTEE’S SALE OF
                          REAL PROPERTY TO TIMOTHY COVELL

          COMES NOW the Trustee, by and through counsel, Philip J. Montoya, pursuant

to the authority granted to said Trustee, and moves for an Order approving the sale of

property of the estate and further states:

          1.    The Debtor filed her Chapter 7 petition on July 26, 2018.

          2.    The trustee is the duly appointed and acting trustee of the aforementioned

estate.

          3.    At the time the Debtor filed this bankruptcy, she was the owner of land and

improvements located in, Albuquerque, New Mexico and described as:

                Lot numbered Seventeen (17) in Block numbered One Hundred
                Eleven (111), of SNOW HEIGHTS, an Addition to the City of
                Albuquerque, New Mexico, as the same is shown and designated on
                the Plat of said Addition, filed in the Office of County Clerk of
                Bernalillo County, New Mexico, on December 31, 1953.

This property is more commonly known as 10516 Towner Avenue NE, Albuquerque, NM

87112 and will be referred to as the subject property.

          4.    No exemption has been claimed in the subject property.

          5.    An offer to purchase the subject property for $125,100.00 cash was made by

Timothy Covell. Trustee accepted that offer and seeks Court approval herein. A copy of




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the executed purchase agreement is attached as exhibit A (hereinafter referred to as the

purchase agreement).

       6.     The purchase agreement provides that seller is to pay for an owner’s title

policy, survey, certain miscellaneous closing fees, and all taxes, assessments, and other

accrual charges pertaining to the subject property, prorated to date of closing of sale. It

is estimated that these closing costs will be no more than $2,502.00.

       7.     Trustee’s realtor is Amy Ackroyd of TAL Realty, Inc,, working in

conjunction with BK Global, and they will be entitled to a realtor’s commission in the

amount of $7,506.00 (6.00% of the sales price), plus applicable gross receipts tax. This

commission may be split with buyer’s realtor, if applicable.

       8.     The subject property is encumbered by a first position mortgage in favor of

Nationstar Mortgage LLC securing a note with a principal sum of approximately

$144,316.00. BK Global has negotiated a release of lien.

       9.     The subject property is encumbered by a second position mortgage in favor

of Wells Fargo securing a note with a principal sum of approximately $15,384.00. BK

Global has negotiated a release of lien.

       10.    Trustee seeks herein approval of the sale of the subject to property to

Timothy Covell for the cash price of $125,100.00.

       11.    Trustee estimates that the net proceeds from the sale of the real property

will be in the approximate amount of $5,000.00.

       12.    Trustee believes the proposed sale to be reasonable and in the best interests

of the estate and recommends that the sale be approved.



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       WHEREFORE, the Trustee requests that the Court enter an Order approving the

aforementioned sale and conditions.

                                                       Respectfully submitted:

                                                       Filed electronically
                                                       Philip J. Montoya
                                                       Counsel for Trustee
                                                       1122 Central Ave. SW, Ste 3
                                                       Albuquerque, NM 87102
                                                       (505) 244-1152 (505) 717-1494 fax
                                                       pmontoya@swcp.com

I hereby certify that on June 3, 2019
I caused the foregoing pleading to be sent
by operation of the Court’s electronic
filing system to all parties indicated on the
electronic filing receipt.

s/Filed electronically
Philip J. Montoya




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                               Exhibit A




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